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 4
     Attorney for Defendant, BOUAVONE KEOMOUNEPANE
 5
 6
                      IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                              EASTERN DISTRICT OF CALIFORNIA
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 9
10   UNITED STATES OF AMERICA,   )                  CASE NO. 1:07-cr-00268-OWW
                                 )
11        Plaintiff,             )
                                 )                  STIPULATION AND
12      v.                       )                  ORDER TO
                                 )                  CONTINUE SENTENCING
13   BOUAVONE KEOMOUNEPANE,      )
                                 )
14         Defendant.            )
     ____________________________)
15
16            The parties hereto, by and through their respective attorneys, stipulate and
17   agree that the sentencing currently calendared for December 7, 2009, be
18   continued to January 19, 2010 at 9:00 a.m.
19            This continuance is agreed to as the parties require additional time to
20   complete the U.S.S.G. § 5C1.2(a)(5) process. The parties have been unable to
21   complete Ms. Keomounepane’s safety valve interview due to the need to secure
22   an interpreter.
23            The parties anticipate that arrangements will be made for the safety valve
24   interview, the last step remaining for sentencing to occur, prior to the requested
25   future sentencing date.
26   ///
27   ///
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 1        The parties also agree that any delay resulting from this continuance shall
 2   be excluded in the interest of justice pursuant to 18 U.S.C. §§3161(h)(1)(F),
 3   3161(h)(8)(A) and 3161(h)(8)(B)(I).
 4
     DATED: December 3, 2009            /s/ Laurel Montoya       __      __
 5                                      LAUREL MONTOYA
                                        Assistant United States Attorney
 6                                      This was agreed to by Ms. Montoya
                                        via email on December 1, 2009
 7
     DATED: December 3, 2009            /s/ Roger K. Litman    __
 8                                      ROGER K. LITMAN
                                        Attorney for Defendant
 9                                      BOUAVONE KEOMOUNEPANE
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     IT IS SO ORDERED.
13
14   Dated: December 3, 2009                /s/ Oliver W. Wanger
     emm0d6                            UNITED STATES DISTRICT JUDGE
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